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AO 199A (SOIL Rev. 2/21) Order Setting Conditions of Release

                                         United States District Court
                                            Southern District ofIllinois
          UNITED STATES OF AMERICA                             )
                                                               )
                                       Plaintiff               )
                             V.                                )   CASE NO: 21-CR-40039-SMY

                  MINGQING XIAO,
                                       Defendant


                                   ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the release ofthe defendant is subject to the following conditions:

       (1)      The defendant must not violate any federal, state or local law while on release.
       (2)      The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42
                U.S.C. § 14135a.
       (3)      The defendant must advise the Court or the U.S. Probation/Pretrial Services Office or Supervising Officer
                in writing before making any change of residence or telephone number.
       (4)      The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
                imposed as directed.
       (5)      The defendant must sign an Appearance Bond, if ordered.
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IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:
□       (6)     The defendant is placed in the custody of:
                Person or organization
                Address {only if above is an organization)
                City and State                                                       Tel. No.
who agrees (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings,
and (c) notity the court immediately if the defendant violates any condition of release or disappears.


                                    Signed:                                                      .Click or tap to enter a date.
                                              Custodian                                          Date

IE      (7)     The defendant must:
        E       (a)     report to and be supervised by U.S. Probation/Pretrial Services Office as directed
        □       (b)     maintain or actively seek employment
        □       (c)     continue or start an educational program as directed
        IE      (d)     surrender any passport to the U.S. Probation/Pretrial Services Office
        E       (e)     refrain from obtaining a passport or other international travel document
        E       (f)     Travel is restricted to the state of Illinois and ED/MO for attorney appointments. All requests for
                        travel will require prior approval from the Court.
        □       (g)     reside with Click or tap here to enter text, at the following address Click or tap here to enter text.
        E       (h)     avoid all contact, directly or indirectly, with any person who is or may be a victim, witness, or
                        defendant in the investigation or prosecution, including: Click or tap here to enter text.
        □       (i)     participate in available mental health, psychological, and/or psychiatric evaluation and/or
                        treatment as deemed necessary. You must pay all or part of the cost of the program based on your
                        ability to pay as determined by the Court and/or U.S. Probation and Pretrial Services Office.
        □       (j)     reside in a residential reentry center (halfway house) as directed by the U.S. Probation/Pretrial
                        Services Office and comply with the rules of that facility. You must pay all or part of the cost of
                        the program based on your ability to pay as determined by the Court and/or U.S. Probation and
                         Pretrial Services Office.

        E       (k)      refrain from possessing a firearm, ammunition, destructive device, or other dangerous weapons
        □       (1)      refrain from any use of alcohol

        □       (m)      submit to a remote alcohol testing system and comply with all program requirements as approved
                         by the U.S. Probation/Pretrial Services Office. The defendant shall pay for all or part of the costs
                         associated with this system as directed by the Court and/or the U.S. Probation/Pretrial Services
                         Office.

        □        (n)     refrain from any use or unlawful possession of a narcotic drug or other controlled substances
                         defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner
        □        (o)     not be present in any location where any illegal substance is being manufactured, used, or sold
        □        (p)     submit to testing for a prohibited substance if required by the U.S. Probation/Pretrial Services
                         Office. Testing may be used with random frequency and may include urine testing, the wearing of
                         a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening
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        □       (q)     participate in a program of inpatient or outpatient substance abuse therapy and counseling if
                        deemed necessary. You must pay all or part of the cost of the program based on your ability to
                        pay as determined by the Court and/or U.S. Probation and Pretrial Services Office.
        □       (r)     participate in one of the following location restriction programs and comply with its requirements
                        as directed.

                        □ Curfew. You are restricted to your residence every day from 6:00 p.m. to 6:00 a.m. or as
                              directed by the supervising officer.
                        □ Home Detention. You are restricted to your residence, at all times, except for employment;
                             education; religious services; medical, substance abuse or mental health treatment;
                             attorney visits; court appearances; court-ordered obligations; or other activities approved
                                in advance by the supervising officer.
                        □ Home Incarceration. You are restricted to 24-hour-a-day lockdown at your residence, except
                                for medical necessities and court appearances or other activities specifically approved by
                                the court.

                        □ Stand Alone Monitoring. You have no residential curfew restrictions; however, must comply
                                with the location or travel restriction as imposed by the court. Note: this component
                                should be used in conjunction with GPS technology.
                        submit to the following location monitoring technology and comply with its requirements as
                        directed.

                        □ Location monitoring technology as directed by the U.S. Probation/Pretrial Services Office
                        □ Radio Frequency (RF)
                        □ Global Position System (GPS)
                        You must pay all or part of the cost of location monitoring based on your ability to pay as
                        determined by the U.S. Probation/Pretrial Services Office.
        IS      (s)     report as soon as possible to the U.S. Probation/Pretrial Services Office every contact with law
                        enforcement personnel, including arrest, questioning, or traffic stops
        S       (t)     not incur new credit charges or open additional lines of credit while on release in this case
                        without the approval of the U.S. Probation/Pretrial Services Office
        □       (u)     not associate with children who appear to be under the age of 18 nor frequent, volunteer, or work
                        at places where children congregate (e.g. playgrounds, parks, malls, daycare centers, or schools)
                        unless approved by U.S. Probation/Pretrial Services Office. The defendant shall have no contact
                        with victims.

        □       (v)     The defendant shall cooperate with the U.S. Probation/Pretrial Services Office Computer and
                        Internet Monitoring Program. Cooperation shall include, but is not limited to, identifying
                        computer systems, internet capable devices, networks (routers/modems), and/or similar electronic
                        devices (external hard drives, flash drives, etc.) to which the defendant has access. All devices are
                        subject to random inspection/search, configuration, and the installation of monitoring software
                        and/or hardware. The defendant's financial obligation shall never exceed the total cost of services
                        rendered. The defendant shall pay all or a portion of the costs of participation in the Computer
                        and Internet Monitoring Program based on the defendant's ability to pay.
                        The defendant shall inform all parties who access approved computer(s) or similar electronic
                        device(s) that the device(s) is subject to search and monitoring. The defendant may be limited to
                        possessing only one personal computer and/or internet capable device to facilitate the ability to
                        effectively monitor internet-related activities. The defendant shall report any and all electronic
                        communication service accounts utilized for user communications, dissemination, and/or storage
                        of digital media files (i.e., audio, video, images, documents, device backups) to the U.S.
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                        Probation/Pretrial Services Office. This includes, but is not limited to, email accounts, social
                        media accounts, and cloud storage accounts. The defendant shall provide each account identifier
                        and password, and shall report the creation of new accounts. Changes in identifiers and/or
                        passwords, transfer, suspension and/or deletion ofany account shall be reported within five days
                        of such action. The defendant shall permit the U.S. Probation/Pretrial Services Office to access
                        and search any account(s).

        El      (w)    As directed by the U.S. Probation/Pretrial Services Office, the defendant shall notify third parties
                       of potential risks due to the defendant's criminal record or personal history or characteristics and
                       shall permit the U.S. Probation/Pretrial Services Office to make such notification and to confirm
                        the defendant's compliance with such notification requirement.
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                                              Advice of Penalties and Sanctions
       Violations of any of the foregoing conditions of release may result in the immediate issuance of a warrant for the
defendant's arrest, a revocation of release, an order of detention, as provided in l8 U.S.C. $ 3148, and a prosecution for
contempt as provided in l8 U.S.C. $ 401 which could result in a possible term of imprisonment and/or a fine.
         The commission of any offense while on pretrial release may result in an additional sentence upon conviction for
such offense to a term of imprisonment not less than two years nor more than ten years, if the offense is a felony; or a
term of imprisonment of not less than ninety days nor more than one year, if the offense is a misdemeanor. This sentence
shall be consecutive to any other sentence and must be imposed in addition to the sentence received for the offense itself.
         l8 U.S.C. $ 1503 makes it a criminal offense punishable by up to five years in jail and a $250,000 fine to
intimidate or attempt to intimidate a witness, juror or officer of the court; l8 U.S.C. $ l5l0 makes it a criminal offense
punishable by up to five years in jail and a $250,000 fine to obshuct a crimina! investigation; l8 U.S.C. $ l5l2 makes it a
criminal offense punishable by up to ten years in prison and a $250,000 fine to tamper with a witness, victim or informant;
and l8 U.S.C. $ l5l3 makes it acriminaloffense punishable by uptoten years in jail and a$250,000 fine to retaliate
against a witness, victim or informan! or threaten or attempt to do so.

        It is a criminal offense under I I U.S.C. $ 3 I 46, if after having been released, the defendant knowingly fails to
appear as required by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the
defendant was released in connection with a charge of, or while awaiting sentence, surrender for the serice of a sentence,
or appeal or certiorari after conviction, for:
        (l)     an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or mone,
                the defendant shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
        (2)     an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the
                defendant shall be fined not more than $250,000 or imprisoned for not more than five years, or both;
        (3)     any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two
                years, or both;
        (4)     a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one
                year, or both.

        A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of
imprisonment for any other offense. tn addition, a failure to appear may result in the forfeiture of any bail posted.
                                               Acknowledgment of Defendant
         I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to
obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of
the penalties and sanctions set forth above.                         ,/1/) i
                                                            I
                                                             x
                                            Directions to United States Marshal
A       The defendant is ORDERED released after processing.

tr      The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial
        officer that the defendant has posted bond and/or complied with all other conditions for release. The defendant
        shall be produced before the appropriate judicial officer at the time and place specified, if still in custody.

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                                                                 ITED STATES MAGISTRATE JUDGE
